                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-00328-TMT-MEH

MICHAEL ABBONDANZA and
TAVIN FOODS, INC.,

       Plaintiffs,

v.

JASON WEISS,
PETER LEINER,
WEISS LAW GROUP, PC,
BRETT HUFF,
RICHARD LESLIE,
HUFF & LESLIE, LLP, and
GIOVANNIA PALONI,

       Defendants.


             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


Michael E. Hegarty, United States Magistrate Judge.

       Before the Court is Plaintiffs’ “Motion for Leave to File Second Amended Complaint”

(“Motion”). ECF 97. Plaintiffs seek to add Santiago Abreu as a Defendant. Briefly, this lawsuit

asserts that the Defendants engaged in vexatious litigation and violated RICO in bringing ADA

“tester” lawsuits on behalf of Mr. Abreu, who allegedly visited restaurants and other public

accommodations, identified violations of the Americans with Disabilities Act, and filed lawsuits

against the establishments. I held a hearing on this Motion on August 4, 2021. For the reasons

stated on the record, which I will briefly reiterate here, I respectfully recommend that the Motion

be denied.
       Plaintiffs filed the Motion within the time permitted by the Scheduling Order (July 30,

2021). ECF 73. Therefore, Rule 15 governs this Court’s consideration. Rule 15 states that after

the deadline for amending a pleading as a matter of course, “a party may amend its pleading only

with the opposing party’s written consent or the court’s leave. The court should freely give leave

when justice so requires.” Fed. R. Civ. P. 15(a)(2). “Refusing leave to amend is generally only

justified upon a showing of undue delay, undue prejudice to the opposing party, bad faith or

dilatory motive, failure to cure deficiencies by amendments previously allowed, or futility of

amendment.” Maloney v. City of Pueblo, 323 F.R.D. 358, 360 (D. Colo. 2018) (quoting Frank v.

U.S. West, Inc., 3 F.3d 1357, 1365 (10th Cir. 1993)). Because “untimeliness alone is an adequate

reason to refuse leave to amend,” Duncan v. Manager, Dep’t of Safety, 397 F.3d 1300, 1315 (10th

Cir. 2005), the following analysis explains my basis for denying the Motion.

       Plaintiffs’ only basis for filing the Motion two and a half years after the lawsuit was

commenced is their disbelief that prior to recently, Plaintiffs’ counsel did not believe Mr. Abreu

was a real person. Mr. Abreu, through a licensed attorney, filed more than seventy lawsuits in this

District and likely many multiples of that in all other federal district courts combined. No party

gave me any proof that any court ever inquired into Mr. Abreu’s existence. This has been an issue

in no other case. Nor could any counsel tell me that in their many collective years of practice, they

had ever even heard of a situation in a federal court in the United States in which a court found

that a lawsuit brought by licensed counsel in the name of a natural person was a fraud or that the

named plaintiff did not actually exist.        Given the extreme unlikelihood that a natural

person/plaintiff in hundreds of lawsuits in federal courts in the United States (approximately 200

by my count) was in fact fictitious, at the very least, Plaintiffs here should have (1) included Mr.

Abreu, who is the central focus of this lawsuit, as a named defendant in this lawsuit, and if they




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had a good faith basis to believe he did not exist, (2) engaged in early discovery into his actual

existence. Failure to do that until now constitutes undue delay.

       Therefore, the Court respectfully recommends that Plaintiffs’ Motion for Leave to File

Second Amended Complaint [filed June 30, 2021; ECF 97] be denied. 1

       Respectfully submitted this 4th day of August, 2021, at Denver, Colorado.

                                                      BY THE COURT:




                                                      Michael E. Hegarty
                                                      United States Magistrate Judge




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  Be advised that all parties shall have fourteen (14) days after service hereof to serve and file any
written objections in order to obtain reconsideration by the District Judge to whom this case is
assigned. Fed. R. Civ. P. 72. The party filing objections must specifically identify those findings
or recommendations to which the objections are being made. The District Court need not consider
frivolous, conclusive or general objections. A party’s failure to file such written objections to
proposed findings and recommendations contained in this report may bar the party from a de novo
determination by the District Judge of the proposed findings and recommendations. United States
v. Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the failure to file
written objections to the proposed findings and recommendations within fourteen (14) days after
being served with a copy may bar the aggrieved party from appealing the factual findings and legal
conclusions of the Magistrate Judge that are accepted or adopted by the District Court. Duffield v.
Jackson, 545 F.3d 1234, 1237 (10th Cir. 2008) (quoting Moore v. United States, 950 F.2d 656,
659 (10th Cir. 1991)).


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